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                      United States Court of Appeals
                                   FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                            ____________
No. 19-1222                                                         September Term, 2020
                                                                                    EPA-84FR44547
                                                               Filed On: April 5, 2021
Environmental Defense Fund,

                  Petitioner

         v.

Environmental Protection Agency,

                  Respondent


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Consolidated with 19-1227

         BEFORE:           Rogers and Wilkins, Circuit Judges, and Sentelle, Senior Circuit Judge

                                               ORDER

      Upon consideration of respondent’s motion for voluntary vacatur and remand and the
response in support thereof, it is

       ORDERED, on the court’s own motion, that these consolidated cases be removed
from abeyance. It is

       FURTHER ORDERED that the motion for voluntary vacatur and remand be granted.
Respondent’s action in Adopting Requirements in Emission Guidelines for Municipal Solid
Waste Landfills, 84 Fed. Reg. 44547 (Aug. 26, 2019), is hereby vacated and these
consolidated cases are remanded for further proceedings.

       Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk is
directed to issue the mandate forthwith.

                                              Per Curiam

                                                                 FOR THE COURT:
                                                                 Mark J. Langer, Clerk

                                                         BY:     /s/
                                                                 Manuel J. Castro
                                                                 Deputy Clerk
